                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:05CR104

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
GABRIEL ROMERO, et al.,             )
                                    )
            Defendants.             )
___________________________________ )

       THIS MATTER is before the Court on the Government’s Motion for Status Conference,

filed June 7, 2006. For the reasons stated in the Government’s Motion and for good cause

shown, the Court will set this matter on for a status conference.

       IT IS, THEREFORE, ORDERED that the Government’s Motion for Status Conference

is hereby GRANTED. This matter is set for a status conference on Tuesday, June 27, 2006 at

10:45 a.m. in Courtroom #2 in the Charlotte Division of the Western District of North Carolina.

                                                 Signed: June 8, 2006




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